Close Report
                                Print Report                  Export to PDF                    Contact Us                      Adverse Action Letter
                  Upload Supporting Docs        Applicant Copy  613 Notice Inhouse                                                                       Client Copy
                                  Prepared For: VITA   PROPERTY MANAGEMENT   GROUP
                                                                    Get Additional Info                   File Upload
                                                                        Applicant Information

Applicant Name:              NEELY, MARVELL ANTHONY                                      SSN:                          XXX-XX-XXXX
Address:                                                                                 Phone(s):
City/State/Zip:                                                                          Email:
AKA Name(s):                 NEELY, MARVELL A

                                                     Additional information provided by applicant
                       This information was provided by your applicant during the Apply Now process and has not been confirmed by Trusted Employees.

                                                     NO ADDITIONAL INFORMATION PROVIDED BY APPLICANT


                                                                        Employer Information

Account #:                   35451S                                                      Attn:                         MEGAN BEAULIEU
Phone:                       6166288005                                                  Date Ordered:                 02/18/2021
Completed:                   02/25/2021                                                  Entered By:                   35451S
Proofed By:                  JOSHUAD                                                     Report Type:                  CRIMINAL BACKGROUND CHECK (PKG # 1)
File #:                      35BC17                                                      Position Applied For:         LEASING CONSULTANT

To view original order data click here .

                                                                            Fraud Protection
 Social Security Numbers can only be validated to being issued or not issued based on information available from the Social Security Administration. They may be valid numbers
   but issued to a different person. If no credit report is found please request to see the applicant's social security card and State ID. For security purposes only partial Social
                                         Security Numbers are displayed. Contact Trusted Employees if you need to discuss discrepancies.

Name:                       NEELY, MARVELL                SSN:                         XXX-XX-XXXX                   Status:                      ISSUED SSN
State Issued:               MISSOURI

                                                         Criminal, Traffic, and Infraction Records
  For a period of 7 years prior to the date of this report we have searched public records and commercially available data sources for criminal records. The Public Records and
    commercially available data sources used in this report should not be relied upon as definitively accurate. Data is sometimes entered poorly, processed incorrectly and is
 generally not free from defects. This report does not eliminate the possibility of additional information contained outside the scope of our search. WARNING: Criminal offenders
  frequently use aliases, including the names of other individuals. Do not assume search results correspond to the subject of your inquiry. Use EXTREME CAUTION in making
 employment decisions based upon this information. Fingerprint verification is the only way of confirming a subject's identity. Nationwide Criminal SuperSearch requested (Click
                                                                              here for more information).

                MO , SAINT LOUIS CITY                                                            TN , DAVIDSON (SINGLE COUNTY)
                    NEELY, MARVELL ANTHONY                                                           NEELY, MARVELL ANTHONY
                US, NATIONWIDE CRIMINAL SUPERSEARCH (MULTI STATE)
                    NEELY, MARVELL ANTHONY


1. Docket: 1322-CR04265

Name:                 NEELY , MARVELL A                                                  County:                MO, SAINT LOUIS CITY
Offense:              FRAUDULENT USE OF A CREDIT/DEBIT DEVICE                            Disposition:           CONVICTED
                      (VALUE LESS THAN $500)
Charge Date:          08/23/2013                                                         Docket:                1322-CR04265
Offense Level:        MISD                                                               DispDate:              04/26/2016


2. Docket: GS723403

Name:                 NEELY, MARVELL                                                     County:                TN, DAVIDSON
Offense:              UNLAWFUL USE OF DRUG PARAPHERNALIA                                 Disposition:           DISMISSED
DOB:                  XX/XX/XXXX                                                         Charge Date:           05/14/2015
Docket:               GS723403                                                           Offense Level:         MISD
DispDate:             05/14/2015


3. Docket: GS723404

Name:                 NEELY, MARVELL                                                     County:                TN, DAVIDSON
Offense:              POSSESSION OR CASUAL EXCHANGE                                      Disposition:           DISMISSED
DOB:                  XX/XX/XXXX                                                         Charge Date:           05/14/2015
Docket:               GS723404                                                           Offense Level:         MISD
DispDate:             05/14/2015
                                                        Nationwide Sex Offender Registry Search
 The information provided below is gathered from every state, territory, and Indian tribe that contributes to the NSOPW / Dru Sjodin National Sex Offender Registry. Information is
 gathered and refreshed on a bi-weekly basis, and all possible match results are manually checked against the Dru Sjodin website at www.nsopw.gov prior to being displayed on
                                                                                      the report.

                                                                        Names Checked:
                                                                        NEELY, MARVELL ANTHONY


                                                                            NO RECORDS FOUND


                                                                    Employee Drug Screening

1. Test Name:     5 PANEL                                 Date:              02/19/2021                              Result:            NEGATIVE

                                                                  OFAC / Global Terrorist Search
                                        A search has been made of the following designations which are compiled in the OFAC database.

                                                                               Names Searched:
                                                                               NEELY, MARVELL

Specially Designated Narcotics Traffickers - NO RECORDS                                 Foreign Terrorist Organizations - NO RECORDS
Specially Designated Global Terrorists - NO RECORDS                                     Specially Designated Terrorists - NO RECORDS
Weapons of Mass Destruction Proliferators - NO RECORDS                                  Specially Designated Nationals - NO RECORDS


                                                                            Address History
  The following records represent an applicant's current and previous address history according to information provided within the application form and various databases. Any
                                                                        dates provided are approximate.

1. Address:                  1115 PINE ST
   City/State/Zip:           ST LOUIS, MO 63101
   County:                   SAINT LOUIS CITY

2. Address:                  915 THUNDERHEAD                                            First Reported:               08/01/2017
   City/State/Zip:           SAINT LOUIS, MO 631383438
   County:                   SAINT LOUIS

3. Address:                  1203 MADISON                                               First Reported:               07/01/2015
   City/State/Zip:           LA VERGNE, TN 370863994
   County:                   RUTHERFORD

4. Address:                  583 DOVER GLENN 204                                        First Reported:               04/01/2015
   City/State/Zip:           NASHVILLE, TN 37211
   County:                   DAVIDSON

5. Address:                  11923 BELLEFONTAINE                                        First Reported:               08/01/2014
   City/State/Zip:           SAINT LOUIS, MO 631381900
   County:                   SAINT LOUIS

6. Address:                  2827 N 14TH                                                First Reported:               09/01/2011
   City/State/Zip:           SAINT LOUIS, MO 631073902
   County:                   SAINT LOUIS CITY

7. Address:                  7519 ALASKA                                                First Reported:               12/01/2013
   City/State/Zip:           SAINT LOUIS, MO 631114002
   County:                   SAINT LOUIS CITY

8. Address:                  1610 PAGE INDUSTRIAL                                       First Reported:               06/01/2019
   City/State/Zip:           SAINT LOUIS, MO 631321330
   County:                   SAINT LOUIS

9. Address:                  2167 EDMUND                                                First Reported:               10/01/2018
   City/State/Zip:           SAINT LOUIS, MO 631215613
   County:                   SAINT LOUIS

10. Address:                 2240 N 3RD                                                 First Reported:               11/01/2018
    City/State/Zip:          SAINT CHARLES, MO 633010962
    County:                  SAINT CHARLES

                                                                       ***** End of Report *****
  Please be advised that the information provided should not be the sole determining factor in evaluating the individual. Trusted Employees shall exercise good faith in obtaining
 information from sources deemed to be reliable but cannot guarantee the accuracy of the information reported. Human error in compiling this information is possible. This report
is being provided to you in strict confidence, and except where required by law, no information provided in this report may be revealed directly or indirectly to any person except
                                                       those authorized to do so in connection with performing their duties.
    Note: If any information contained in this report will be used for an adverse action please advise your applicant. Should the applicant dispute the information
                    reported please advise us of any discrepancies so further verification can be performed prior to issuance of an adverse action.
